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 AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   SouthernDistrict
                                               __________   Districtofof__________
                                                                         Texas

                   United States of America                       )
                              v.                                  )
            Enrique Concepcion PRIETO-Perez                       )      Case No.
                                                                  )                 L18-PO60015
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                   May 15, 2018               in the county of                      Webb             in the
       Southern         District of           Texas          , the defendant(s) violated:

             Code Section                                                   Offense Description
8 USC 1325(a)(1)                           an alien, did unlawfully enter and attempt to enter the United States at a place other than
                                           designated by an immigration officer.




          This criminal complaint is based on these facts:
Furthermore, it is based on verbal statements by, Enrique Concepcion PRIETO-Perez, who admitted being a citizen of Mexico, who
entered or attempted to enter illegally into the United States by wading the Rio Grande River near, Laredo, Texas, thus avoiding
immigration inspection, nor having proper documents to enter, travel through, or remain in the United States. This illegal entry or
attempted entry took place on May 15, 2018.




              Continued on the attached sheet.
                                                                                                         /S/
                                                                                               Complainant’s signature

                                                                         Francisco Perez Iii                , Border Patrol Agent
                                                                                                Printed name and title

 Sworn to before me and signed in my presence.


 Date: May 17, 2018
                                                                                                  Judge’s signature

 City and state:      Laredo, Texas                                      Diana Song Quiroga                 , U.S. Magistrate Judge
                                                                                                Printed name and title
